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                                 EXHIBIT A
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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                  CIVⅡ. MINUTES - GENERAL


   Case No. 8: 16-CV-01924-AG-KESx                                                 Date: Apri1 9, 2018

   Title: ROBERT J. NEELY v. JP MORGAN CHASE BANK, N.A.

   PRESENT :

               THE HONORABLE KAREN E. SCOTT. U.S. MAGISTRATE JUDGE

                   Jazmin Dorado                                       Not Present
                  Courtroom Cl erk                                    C ourt Reporter


          ATTORNEYS PRESENT FOR                              ATTORNEYS PRESENT FOR
                    PLAINTⅢF :                                    DEF ENDANT :
                   None Present                                    None Present



        PROCEED量NGS (IN CHAMBERS):                             Order GRANTING in Part and
                                                         DENYING in Part Defendantls Motion to
                                                                       CompeI (Dkt. 64)


   I.      BA CKGROUND.


          Plaintiff Robert J. Neely (“Plaintiff’) a11eges that, after defaulting on his mortgage, he

   sold his principal residence in Laguna Beach αshort" for $2.3 million in 2014’with an unpaid

   principal balance of approximately $3.5 mi11ion owed to his lender’Defendant JP Morgan Chase
   Bank, N.A. (“JPMC”). ①kt. 1 at rm 18-20.) Plaintiffcontends that a signific紬t POrtion of血e

   short sale proceeds should have been applied to unpaid interest on the mo鴫age before unpaid

   principal, and that JPMC should have issued him an Intemal Revenue Service Fom lO98 (“ 1098
   Form”) reflecting血ese interest payments. (迫at rm 1 5, 25.) Plaintiff alleges that had JPMC

   done so, he could have deducted his interest payments from his reported income in 2014 and
   reduced his federal income taxes. (坦at ¶ 27.) He thus asserts claims for breach of contract,

   breach ofthe implied covenant ofgood faith and fair dealingブnegligence, Violations of

   Califomia,s Unfa,ir Competition Law, and declaratory and iIIiunctive relief (辿L, at ¶1 55-85・)
   He seeks to certify a class of similarly situated bonowers. (迫at 『 44・)


          JPMC disputes Plaintiff s contractunl argument conceming the required allocation of his
   payment between principal and interest’but argues that even if it had mailed Plain輯a lO98
   Fom, “Plain輯either could not or would not have taken a mortgage interest tax deduction in
   2014 forthe LagunaBeach property …・” @kt. 64-1 at 7.)


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  II.     INSTANT DISCOVERY DISPUTE.


          On March 20, 2O18, JPMC filed a modon to compel Plaintiffto respond to ce巾ain
   discovery conceming Plaintiffs taxes. (Dkt. 64.) The discovery at issue is as follows‥


   .   Requests for Admi§Sion (“RFA”) nos工l-15 which asked Plaintiffto admit that he

          reported an adjusted gross income of“$x” on his federal tax retum for tax years 2007,

          2008, 2010, 201 1, and 2012, reSPeCtively. (Dkt. 64-1 at 24-26・)


          Requests for Production (“RFP”) no. 7 (seeking Plaintiff’s tax retums for the years 2012

          through 2016), nO. 8 (Seeking a11 supporting documents for those retums), and no. 9
          (Seeking all communications w皿any tax preparers who assisted in prepa正ng those
          retums). (坦at 22-24.)


          Deposition questions about Plaintiffs pre-2014 taxes. At deposition’JPMC attempted to

          ask Plaintiff questions about Plaintiffs tax documents that JPMC already had in its files
          due to its lending relationship with him, namely, Plaintiffs tax retums for tax years 2007,
          2008, 2010, 2011, and 2012. (坦珂=-22, 26.) JPMC clarifies that while it has these
          retums, they “do not appear to include all schedules.” (坦at 26, n. 10.) JPMC does not

          possess plaintiffs 2006, 2009, Or 2013 tax retums. (迫)


           At deposition, Plaintiff, s attomey instructed Plaintiff not to answer on several grounds
   including relevan∞, Privilege, PnVaCy, and JPMC’s a11eged violation of an earlier agreement

   between counsel conceming the sequence of discovery・ (坦. at l l-22.)


           The Court finds the matter appropriate for decision without oral argunent. Fed. R. Civ.
   P. 78; L∞al Rule 7-15. For the reasons below’血e motion is GRANTED in part and DENⅢD in

   part. The hearing noticed for April 17, 2018, at lO:00 a・m. is taken OFF-CALENDAR

  IⅡ.      D量SCUSSION.


          A.    ADDlicable Law.


           Discovery must be limited to matters relevant to the parties’claims or defchses. Fed. R.

   Civ. P. 26(b)(1). It must also be proportional to血e needs ofthe case, Which implicates factors

   inc山ding “the importance of the discovery m reSOIving the issues, and whether the burden or

   expense ofthe proposed discovery outweigh§ its likely benefit'"迫“The party seeking to compel
   an inspection under Rule 34 has the initial burden of establishing that its request satisfies the
   relevahce requirements of R山e 26(b)(l).”経堂co血s. Co. oエA塑・ V里撃ノ早. 15-CV十47十
   RGK a{Kx), 2016 U.S. I克t. LEXIS 190260, at *6 (C.D. Cal. Jan. 11, 2016) (citation omi請ed)
   “Following that showing (or if relevance is plain from the face ofthe request)’the party who resists

   discovery then has the burden to show that discovery should not be a11owed’and carries血e `heavy

   burd。n 。f clarifying, eXPlaining, and supporting its叫ections.’’’迫(Citations omitted扉9通遡
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   United States v. McGraw-Hill Companies` Inc., No工3-CIV-779-DOC (JCGx), 2014 U.S. Dist.

   LEXIS 59408, at *23 (C.D. Cal. Apr. 15, 2O14) (“Upon a morion to compel discovery,血e movant
   has the in諦al burden of demonstrating relevance. In tum, the pafty apposing discovery has血e
   burden of showing that dis∞Very Should not be allowed, and also has血e burden of clarifying,

   explaining and supporting its o切ections with competent evidence.’’) (Citations omitted).


          Tax retums are genera11y privileged under Califomia law,1 although a plaintiff may waive
   the privilege by bringing claims inconsistent with assertion of血e privilege. S望Schnabel v.

   Suoerior Court, 5 Cal. 4th 704, 720-21 (1993); Weingarten v. Suoerior Court, 102 Cal. App. 4血
   268, 274 (2OO2). “A trial co調has broad discretion in determining the applica厨lity ofa
   statutory privilege.” Weingarten, 102 Cal. App. 4血at 274. In deciding whether to order

   PrOduction of tax documents, COurtS ∞nSider, amOng Other things, Whether the relevant financial
   infomation can be gleaned from o血er sources.塾蔓Sater v. Chrvsler Grouo. LLC, No. 14-
   00700-VAP-DTB, 2016 U.S. Dist. LEXIS 76221, at *8, n. 3 (C.D. Cal. Mar. 4, 2016) (noting
   plaintif鴇had “not otherwise identified any other records that have been produced that would
   SuPPly the information being sought”); Barrous v. BP P"L.C., No. 10-02944, 2Ol l U.S. Dist・

   LEXIS 42380, at *12 (N.D. Cal. Apri1 14, 201 1) (noting that lhe party resisting production
   [had] failed to identify other financial documents or records that it had produced that would
   SuPPly the relevant information”)・


          膿.       RFAs.


          Plaintiff responded to the disputed RFAs by objecting on grounds of relevancy and
   privilege. @kt. 64-1 at 24-26.) He did not provide a substantive response. G±L)


          JPMC contends that admissions conceming Plaintiffs income in pre-2014 tax years are
   relevant because the information will show “the extent to which Plaintiff was allegedly danaged

   by not deducting mortgage interest `payments, for the Laguna Beach property from his 2014
   垂g型塑” (王立at 37 (emphasis added).)

           IfPlaintiffreported no income in 2014, then that would be relevant to JPMC’s defeuse

   because it would disqualify Plaintiff from any mortgage interest deduction that year. The Court
   does not see, however,血e relevance of Plaintiff,s reported income in other years. By asking
   al)Out SPeCific entries on Plaintiffis federal tax retums that he jointly filed w皿his wife, the



           1 Because皿s is a diversity case, California privilege law govems・宣墜哩曲醒W子平

   Inc. v. K.D. Co.. Inc., 905 F. Supp. 808, 811 (S.D. Ca=995) (“State law govems a claim of

   privilege in a pure diversity case …”); I型y塑n V. Grubhub` Inc+・ No. 15-CV-05128’2017 U.S.
   Dist. LEXIS 67736, at *3-4 0V.D. Cal. May 3, 2017) (“Plaintiffs ∞mPlaint a11eges [CAFA]

   jurisdiction under 28 U.S.C. § 1332(d) and is血erefore before the Co皿on diversity jurisdiction,
   ;o state law ∞ntrOIs questioふof privilege.”);蛙gene副y Cone5tO撃Ser禁. Corp. v. Exeq車
   RIsk Indem.. Inc., 312 F.3d 976, 980-81 (9th Cir. 2002) (substantive law offorum state applies
   in diversity actions).
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   RFAs invade the tax retum privilege without yielding any countervailing discovery benefit.
   Plaintiff’s relevancy and privilege o切ections to血e disputed RFAs are SUSTAINED.


          C.    R耳P§.


          RFP no. 7: Plaintiffobjected on grounds ofrelevaney and privilege. q)kt. 64-1 at 22-
   23.) He agreed to provide his re山rns for tax year 2014. (坦) Plaintiffalso of指red to provide
   availal)1e redacted retums (going back to 2006)血at would show if and when, any mOrtgage
   deduction was taken for any ofPlaintiff,s prope証es. (坦at 34, 55; Dkt. 64-3 at 272.)2 plaintiff

   noted血at since he αmade no mor[gage paymentS for several years prior to 2014 … JPMC

   already knows that ne interest payments meant no interest deductions [on the Lag皿a Beach

   property]. Fu血er吉JPMC has] already improperly seen the 2007, 2008, 2010, 201 1 and 2012
   retums.” (Dkt. 64-1 at 55, n.47.)


          JPMC makes three arguments as to why Plaintiffs unredacted tax retums from 2012-
   2016 are relevant:


          (1) they may show that the Laguna Beach property was not Plaintiffs principal or
   secondary residence in 2014, SuCh that he would not have been entitled to deduct mo鳴age

   interest for that property (迫at 7;連星26 U.S.C. § 163(h)(4XA)a));


          (2) they may show that “he already reached the legal maximum in deductions from his
   other two properties” @kt. 64-1 at 7-8;壁宣26 U.S.C. § 163(h)(3)@)(ii)); and


          (3) they may show that “he did not historica11y take itemized deductions,” which would
   support an argument that he would not have deducted his mo鴫age interest in 2014 for血e
   Laguna Beach property even ifJPMC had provided a lO98 Fom. @kt. 64-1 at 8.)

          JPMC further asserts that Plaintiff s proposal to produce redacted retums is
   “unacceptal)le” because JPMC needs a ``complete picture ofPlaintiffs tax retums” and

   Plaintiffs counsel camot be trusted to make appropriate redactions unilatera11y. (辿i at 34-35.)


          As to angument (1), a taXPayer is not bound to have the sane principal or secondary
   residence every year'∵mus了ax retumS Showing properties for which Plaintiff claimed a

   moftgage interest deduction in prior years would have皿e tendency to prove or disprove that

   the Laguna Beach property was his principal or se∞ndary residence in 2014. Moreover’

   infomation identifying Plaintiff s principal or secondary residen∞ is available from other

   sources, SuCh as Plaintiff s testimony直s wifeis testimony, records con∞血ng where Plaintiff
   receives mail, is registered to vote, etC. W皿e JPMC cites M型tinez v. MflI艶No. 14-CV41,


           2皿e Court assumes thatjn making仙s offer, counSel obtained the consent ofPlaintiffs

   wife, Whojointly filed the retums.麹Coate v. Suoer・ Ct., 81 Cal・ App. 3d l13, 115 (1978) (“In
   the absence ofa waiver by each ofthe holders of血e privilege, the court may not ∞mPel discIosure

   ofjoint federal or j oint state income tax retums’Or any infomation contained therein.”).
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   Lexis Unavailable, 2015 WL 12990793 (D.N.M. Feb. 27, 2015), for the proposition that it is
   entitled to ``challenge,, Plaintiff s testimony “with contemporaneous documents血at co血adict

   him,” ①kt. 66 at 6), the Martinez case did not implicate doouments protected by the taxpayer’s

   Privilege. And in any event, the redacted retums Plaintiff already o節ered to produce-tOgether
   with lO98 Forms-WOuld answer whether Plaintiff claimed the Laguna Beach home as a
   qualified residence in prior years.

          As to angument (2), the maximun deduction is calculated per tax year.皿us, aS Plaintiff

   points out, Whether “he reached a maximum deduction by taking血e deductions on two o血er
   prope巾es would be on the face ofthe only relevant dooument, his 2014 tax retum which has
   been produced.” q)kt. 64-1 at l l (emphasis omitted).)


           Argument (3) conceming historical deductions doos not apply to the post-2014 tax
   retums sought (i.e., the 2015 and 2016 retums). Additionally, Plaintiffs failure to take
   deductions in prior years would not have legally precluded him from taking deductions in 2014.
   At best, JPMC’s argument is that if Plaintiff hal)itually did not take deductions for some reason

   吐逆tO 2014 (because of some advice from a tax preparer? because he wanted to avoid audits?
   because he prepared his retums himself and did not want to take the time to claim deductions?),
   血en that same rationale would have guided Plaintiff’s decision-making垂2014. This argument
   does not depend on dis∞Vering血e entire contents of Plaindff s tax retllmS back to 20 1 2 (Or

   2006). It would be su航cient to leam the answer to a f轟tangeted questions like‥ (1) Since

   2009 0.e., five years before the 2014 short sale), had Plaintiff ever deducted mo鴫nge interest on
   any real property he owned? (2) Ifnot, Why not? (3) If so, for which properties and tax years,
   and why?皿e redacted retums that Plaintiff o館ned to produ∞ WOuld partia11y answer血ese

   questions, and as set fo血below, the Court approves reope血g Plaintiffs deposition for limited
   ques五〇正ng.


           Because the majority ofthe requested doouments e皿er have no relevance, Or minimal

   relevan∞ that is far outweighed by Plaintiff’s privacy interest, JPMC’s motion to compel

   production in response to RFP no. 7 is DENIED, eXCePt that Plaintiff shall produ∞ (as he
   offered) state and federal redacted retums for 2009-20 1 3 showing any mongnge interest
   deductions and the associated real property, if listed.3 signatures and residential addresses
   should not be redacted. Aithough the discovery at issue does not reference tax re調ms aS far

   back as 2OO6, JPMC asserts in血e Joint Stipulation thg血etums from that period are relevant.

   ①kt. 64-1 at 27, 30.) Nothing in the Joint Stipulation explains why 2006 is the threshold. It
   may be because Plaintiffrefinanced his moftgage in 2006. (坦at 3 1.) JPMC has not supported
   this relevaney argument and the Cout declines to find that any aspect oftax retums earlier than
   2009 (i.e., five years before the 2014 short sale) is relevant.蛙塾瞳p Ins.±旦, 2016 U.S. Dist.
   LEXIS 190260, at *6.

           3 while this date range extends beyond the timeframe ofRFP no. 7言t is consistent with

   plaintiff s earlier offer to produce redacted retums and JPMC indicates that it intends to issue RFPs
   encompassing tax years 2006 through 201 1. (DkL 64-1 at 33.)
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          This order does not preclude any party from arguing that certain information and/or
   documents are not admissible at trial. In allowing JPMC to conduct discovery relevant to its
   defense that Plaintiff was a “hわitual non-itemizer,” the Court neither endorses nor r匂ects
   Plaintiff’s argument that it would be overly speculative to draw conclusions from historical

   filings about what Plaintiffwould have done with a lO98 Fom in 2014. (Dkt. 64-1 at 51.)

          RFP no. 8 seeks a11 documents that “in any way support YOUR tax positions YOU took
   in YOUR tax retums for tax years 2012血ough 2016.” (坦i at 23.) This RFP is overly broad. It
   would potentially include documents about Plaintiff’s investments, retirement accounts’and

   receipts for charitable giving, all issues wholly unrelated to the claims and defenses in this
   lawsuit.


          The Court sees potential relevance to JPMC,s負habitual non-itemizer" defense in

   discovering for which pre-2014 years, if any, Plaintiffreceived a lO98 Fom. Such discovery
   might support an angument that Plaintiffreceived lO98 Forms in earlier years but did not deduct
   any mortgage interest, a fact which may weaken Plaintiffs causation argument in this case or
   which may be relevant to class cert狙cation. The Court therefore GRANTS JPMC’s motion to

   compel further production, but limits that fu血er production to any lO98 Foms Plaintiff

   received in 2009-2014.


          RFP no. 9 asks for a11 Plaintiffs documents血at relate to communications w血tax

   preparers for tax years 2012-2016. (Dkt. 64-1 at 24.) Plaintiff agreed to answer an interrogatory
   identifying his tax preparers. (迫at 54.) He has also not o切ected to the deposition ofthe
   accountant who assisted him in the preparation or amendment of his 2014 tax retum. (坦at 53.)

   He suggests that the Court resoIve召the limitation as to the scope ofthe accountant,s

   examination” in comection with this motion. (坦)


          The Co血sees no relevance in potential communications Plaintiffmay have had with his

   tax preparers about many sl坤ects. The Co血does see relevance in the following topics of
   communication in 2012-2014:


          (1 ) the pros/cons of itemizing deductions generally;
          (2) advice conceming claiming (Or nOt Claiming) deductions for mortgage interest; and
           (3) advice conceming the interpretation or import of lO98 Forms.

              The Court therefore GRANTS JPMC’s motion to compel further production in response

   to RFP no. 9, but limits血at further production to (1) documents consistent with the relevant

   dates存opics listed above, and (2) documents su綿cient to idendfy Plaintiff s tax preparers for
   those years, if any. Ifa responsive communication includes an attachment of a draft or final )
   version of a tax retum, then瓜at attachment may be omitted if JPMC is provided notice ofthe
   omission. Plaintiff’s response to RFP no. 9 c皿ently indicates that he is “not aware of any such

   documents.・・ (Dkt. 64-1 at 24.) If fo11owing a diligent search, Plaintiff confirms that no

   responsive documents exist, then he shall respond in a manner consistent with Rule 34(b)(2)(B)
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  of血e Federal Rules of Civil Procedure.


          If肝MC wishes to subpoena any of JPMC’s pre-2014 tax preparers to testify on topics
  beyond血ose listed above, then before doing so, JPMC shall identify血ose topics in a letter to
  Plaintiffs ∞unSel and meet and confer. Ifthe parties cannot reach an agreement as to the

   appropriate scope of such depositions, then they may use the infomal telephonic prooess for
   resolving discovery disputes described on the Court’s website.


          D.   DeDOSition Testimonv.


          JPMC eeks to compel Plaintiffto appear for a second deposition session to answer
   questions his attomey instructed him not to answer at血e first session on Jan皿y 3 l, 2018’
   ∞nceming his pre-2014 tax returns and his property in Bemuda Dunes. @kt. 64-1 at 27-28.)
   Plaintiff argues血at (1) he was jus舶ed in not answering questions about his pre-2014 tax

   retums based on his relevancy/privilege o串ctions, (2) he had not authorized JPMC to use his
   tax retums in the皿gation, and (3) counsel had ngreed to defer discovery conceming Plaintiffs

   pre-2014 tax retums until the scope ofrelevance/privilege was decided by the Court・ (迫at 43-
   45.) Plaintiff’s counsel also instructed Plaintiff not to answer a question whether the Bank of

   America mongnge on a Bermuda Dunes property, Plaintiffs wife’s principal home, WaS在still
   outstanding” based on a relevancy objection and Mrs. Neely’s privaey interests. (迫at 20-22.)


                  1.   Unauthorized Use Obi ection.


          At deposition, Plain紺refused to view or authenticate tax doouments that he had earlier

   provided to JPMC. (Dkt・ 64-1 at 15.) Plain輯argues that when he provided his tax retums to
   JPMC in血e course of a refinance, he did so with the understanding that JPMC’s privacy policies
   and/or Califomia privacy laws would limit JPMC’s use ofthose documents to only lending

   purposes and would prohibit JPMC from discIosing them to third parties. (迫at 56-58.) He
   contends JPMC violated those policies and/or laws when it discIosed his tax retums to its
   ∞unSel for production in this litigation and attempted to question Plaintiff alsout血em at his

   deposi五〇n. (吐)


          In support ofhis position, Plaintiff cites Fo血nato v. Suoerior Court, 1 14 Cal. App. 4血
   475, 480 (2003) as establishing a “right ofprivacy rela血g to doouments submi鵬d to a financial
   insti調tion in ∞meCtion with a sp∞ific transaction.” @kt. 64-1 at 45.) In FortunatQ, a

   decedent’s brother filed a petition to probate decedent’s will・ Fo巾地迦, 1 14 Cal. App. 4血at
   478.皿e decedent’s daughter filed a will contest alleging that the bro血er used undue influence

   to cause d∞edent to execute血e will,坦ふShe later served a subpoena duces tecum on a bank,
   requesting, in part, PrOduction ofdoouments relating to a loan the bank made to the bro血er.迫
   The brother objected to the subpoena insofar as it sought discovery of his personal tax retums’

   which he had given to the bank to secure the loan, and he甜ed a motion for protective order to

   prevent their discovery.迫The probate court deried血e brother’s motion for a protective order
   relating to his tax retum.迫at 479.
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          The Califomia Court ofAppeal issued a writ ofmandate ``commanding the正al court to

   VaCate its order denying the brother’s motion for a protective order with regard to his personal

   tax retums, and to issue a new order granting the requested protection.”迫at 484. The ∞u巾
   reasoned血at former Califomia Revenue & Taxation Code ection 19282 implicitly created a

   Privilege against the discIosure of income tax retums.迫at 479.4 Additionally, a right to
   PnVacy in the Califomia Constitution protects confidential financial information a oustomer
   glVeS a bank.坦at 480-81. The ∞血held血at血e brother’s submission ofhis personal tax
   retums to the bank for the purpose of obtaining a loan did not e無類a waiver of his privilege

   against forced discIosure of the retums to others.坦i at 48 1-82. The co血Of appeal instructed
   that even upon a potential finding ofwaiver, the probate ∞urt ‘`should have ∞nducted an in

   Camera inspection, Where it might have concluded that血e tax retums were insumciently

   probative to justify discIosure, and that [the daughter’s] need for discovery did not outweigh [血e
   brother’s] privacy interests.’’迫at 48l.


           In response, JPMC counters that it received an RFP from Plaintiff seeking寝a11
   DOCUMENTS血at relate in any way to Plainti租” @kt. 64-1 at 26.) JPMC searched its files,
   found the refinance doouments, and produced血em in the litigation in September 2017. (坦)
   Plaintiff’s counsel did not叫ect undl the date ofPlaintiff’s deposition in January 201 8. (坦at

   27.) JPMC asserts it did no仙ng wrong in producing the tax retums.


           The Court finds JPMC did not act wrongfully by producing tax retum doouments back to
   Plain紺and his counsel in dis∞Very, thereby ale血ng Plaintiffto its possession of responsive
   documents. At present, the only parties to this litigation are Plaintiff and JPMC, so the tax
   retums were not disclosed by preduction to仙rd-Parties. JPMC does not argue that Plaintiff

   waived any privilege attached to his tax retums by supplying them to the bank to refinance his
   mo鴫age, and pursuant to Fo血nato, Plaintiff did not. The question remains, however, Whether
   Plaintiff, s subsequent initiation of this lawsuit waived any privilege that survived his earlier
   discIosure oftax retums to JPMC.

                   2.     Waiver of Privilege.



           JPMC argues that because this lawsuit puts the ∞ntentS OfPlaintiffs tax retums at issue’
   JPMC may use the previously produced tax retums to question Plaintiff at deposition. @kt・ 64-1

   at 40;臆Schnabel, 5 Cal. 4th at 721 (privilege waived where “the `gravamen of担e] lawsuit is so

   inconsistent with the continued assertion of the taxpayer, s privilege as to compel血e conclusion

   that the privilege has in fact been waived’’’) (Citation omi備ed).) The Court disagrees that

   Plaintiff has put at issue all contents of his tax retums going back to 2006 and after 2014 through
   2016. Plaintiffis claims relate to his al)ility to take a mortgnge interest deduction in the year
   2014. Accordingly, based on the analysis above’Plaintiff has put at issue his 2014 tax retun and



           4 califomia Revenue and Taxation Code section 19542 now makes it a高misdemeanor for

   the Franchise Tax Board … tO discIose or make known in any manner information as to the amount

   ofincome or any pa血culars … Set fo巾h or discIosed” in a state協X re仙m‘
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   mortgage interest deductions that Plaintiff did (or did not take) for a reasonable period preceding
   血at year. Consistent with his prior o館もr,血e Court has ordered Plaintiffto produced redacted

   retums for 2009-2013 showing mortgage interest deductions, and Fom lO98s. He has already
   PrOduced his 2014 retum.

          Plaintiff,s initiation of this lawsuit is not otherwise inconsistent with an assertion of a
   Privilege over his tax retums.負In light of the important public policies underlying privileges …
   the scope ofthe waiver ofa privilege is generally construed narrowly'” Manela v. Superior Couft,
   177 Cal. App. 4血1139, 1148 (2009) (Citing,垂!壁麺e Fortunato, 114 Cal. App. 4th at475). That
   scope “should be detemined with referen∞ tO血e purpose ofthe privilege.”迫at l 148 (citations

   omitted). The purpose ofthe taxpayer privilege is to en∞urage the vol皿tary filing oftax retums

   and truth餌reporting of income, and thus to facilitate tax co11ection. Webb v・ Standard Oil Co.’
   49 Cal. 2d 509, 5 13 (1957). In this case, finding血at Plaintiffwaived垂1 privileges associated with
   his prior tax retums by claining lost mo鴫age deductions in 2014 would be ∞ntrary tO the puIPOSe

   of encournging餌I taxpayer discIosure. Narrowly construing Plaintiffis waiver as required’the

   Court finds that Plaintiff has waived the taxpayer privilege only with resp∞t tO matterS conCemng

   the gravamen of伽s action‥血e 2014 mortgage interest deduction. JPMC should therefore not
   use the unredacted pre-2014 tax retums for any pre-trial puxpose・


                   3.   Second Dcoosition Session.


           Because JPMC will receive availal)le redacted re山ms for the years 2009 to 2013, the

   Co巾detemines that Plaintiff s deposition may be rcopened for limited examination alsout those
   redacted retums. Proper questioning would include: (1) authenticating the redacted retums, if
   the pardes camot stipulate to their authenticity, (2) estal)lishing who (if anyone) assisted in
   preparing the retums, (3) identifying what mo鳴nge interest deductions Plaintiff did (or did not
   take) for which properties, and (4) identifying his reasons for taking (Or nOt taking) mortgnge
   interest deductions (e.g., he did not receive a lO98 Form, he had no income against which to take
   deductions, he was concemed about an audit, etC.).5

           Regarding the Bermuda I九nes property, queStioning should be limited to (1) whether this

   property was ever plaintiffs principal or secondary residence, (2) if so, Whether Plain冊ever




           5 The pandes dispute whether they had reached an agreement that the pre-2014 tax retums

    in JPMC’s possession would not be introduced at Plaintiffs earlier deposition. JPMC contends

    such an agreement extended only to JPMC’s written discovery @虹64-1 at 41); Plaintiff argues
    that the parties understood JPMC would not seek to use the tax retums in any discovery pending
    court intervention. (坦at 45.) While Plaintiff correctly states this is “now a moot issue, Since the

    matter is before the Co血as the parties had anticipated it would be,” (迫), JPMC should har/e

    initiated a discussion of this issue-Which it knew to be hotly disputed-before Plaintiff’s
    deposition. A pre-deposition judicial resolution might have prevented血e inconvenience to

    Plaint紐of needing to retum for a second se§Sion of deposition・
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   Claimed a mortgage interest deduction on his taxes for that property, and (3) why or why not.


          Lastly, JPMC argues that if Plaintiff is required to return for a second deposition session,
   then the Court should prospectively order him “to testify about yet-tO-be-PrOduced documents” to

   avoid further motions to compel. (迫at 42 (CaPitalization omitted).) The Court declines to issue

   such an order, truSting血at counsel will reach a reasonable agreement addressing any documents

   produced after Plaintiff s first session of deposition consistent with the scope ofrelevant discovery
   defined in this Order. JPMC should not take Plaintiffs second deposition until the pa誼es have
   resoIved their present disagreements over the production of documents that may be relevant to
   Plaintiff s testimony.




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